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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


SANDY WATERS,
an individual,
                                                      CASE NO.:
       Plaintiff,

v.

GOODLEAP, LLC f/k/a LOANPAL, LLC,
a foreign limited liability company,

      Defendant.
___________________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, Sandy Waters (hereinafter, “Plaintiff”), by and through the

undersigned counsel, and hereby sues Defendant, Goodleap, LLC f/k/a Loanpal, LLC (hereinafter

“Defendant”). In support thereof, Plaintiff states the following:

                                PRELIMINARY STATEMENT

      1.       This is an action for actual damages, statutory damages, costs and attorney’s fees

brought pursuant to the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”) and the

Truth in Lending Act, 15 U.S.C. § 1601 et seq. (“TILA”).

      2.       The FCRA was enacted to promote the accuracy, fairness, and privacy of consumer

information contained in the files of consumer reporting agencies and in doing so promote the

efficiency and public confidence in the banking system.

      3.       The TILA is Congress's effort to guarantee the accurate and meaningful disclosure

of the costs of consumer credit and thereby to enable consumers to make informed choices in the

credit marketplace and avoid abusive lending. See, e.g., Cappuccio v. Prime Capital Funding



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L.L.C., 649 F.3d 180 (3d Cir. 2011) ("Congress enacted TILA to guard against the danger of

unscrupulous lenders taking advantage of consumers through fraudulent or otherwise confusing

practices."); Hauk v. JP Morgan Chase Bank USA, 552 F.3d 1114 (9th Cir. 2009) ("Congress

enacted TILA 'to assure a meaningful disclosure of credit terms so that the consumer will be able

to compare more readily the various credit terms available ... and avoid the uninformed use of

credit....) (citing 15 U.S.C. § 1601); Williams v. Chartwell Fin. Servs., Ltd., 204 F.3d 748 (7th Cir.

2000) (Congress enacted TILA to ensure that consumers receive accurate information from

creditors in a precise and uniform manner that allows them to compare the cost of credit."); Rodash

v. AIB Mortgage Co., 16 F.3d 1142 (11th Cir. 1994) (TILA intended to promote informed use and

awareness of cost of credit; ensure meaningful disclosure to enable ready comparison of credit

terms); First Nat'l Bank v. Office of the Comptroller, 956 F.2d 1456 (8th Cir. 1992) (fundamental

purpose of the Act is to require disclosure of true cost of credit so consumers can make informed

choice).

                                JURISDICTION, VENUE & PARTIES

      4.        This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest, attorney fees and costs.

      5.        Jurisdiction and venue for purposes of this action, are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the FCRA

and the TILA.

      6.        Subject matter jurisdiction and federal question jurisdiction, for purposes of this

action, are appropriate and conferred by 28 U.S.C. § 1331, which provides that the District Courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and, this action involves violations of 15 U.S.C. § 1681 et seq.



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      7.       Venue is proper in this District as Plaintiff is a resident in this District, the violations

described in this Complaint occurred in this District, and, Defendant transacts business within this

District.

      8.       Plaintiff is a natural person, and citizen of the State of Florida, residing in Brevard

County, Florida.

      9.       Upon information and belief, Defendant is a limited liability company organized

under the laws of the state of California with its principal place of business located at 8781 Sierra

College Blvd, Roseville, California 95661, and authorized to do business in the State of Florida

through its registered agent, CT Corporation System, located at 1200 South Pine Island Road,

Plantation, Florida 32301.

                                      GENERAL ALLEGATIONS

      10.      At all material times herein, Plaintiff is a “consumer” as defined by 15 U.S.C.

§1681a(c).

      11.      At all material times herein, Defendant regularly services consumer credit and

collects debts associated with the same from consumers in Brevard County, Florida.

      12.      Pursuant to 15 U.S.C. § 1681b, a consumer report can be used or obtained only for

the specific purposes stated thereunder, including for use in connection with a credit transaction

that the consumer initiated, a firm credit offer, employment purposes, or a business transaction in

which an individual has accepted personal liability for business credit.

      13.      Defendant furnishes, reports, and publishes specific details of consumers alleged

outstanding or delinquent debt accounts to compel or coerce the debtor to either satisfy the alleged

balance or suffer the consequences of delinquent accounts, such as higher interest rates on

consumer loans or complete denial of credit.



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      14.      All necessary conditions precedent to the filing of this action occurred, or have been

waived.

                                     FACTUAL ALLEGATIONS

      15.      In or around January 2020 Plaintiff was solicited by ESD Home Solutions LLC

d/b/a Energy Solutions Direct (hereinafter “ESD”), which had a preexisting relationship with

Defendant to act as a co-conspirator stealth consumer finance company, regarding the installation

of solar panels at her property located at 4545 Coquina Ave, Titusville FL 32780 (the “Property”).

      16.      ESD falsely represented to Plaintiff that the only cost to her for the installation and

continued use of the solar panels would be $300.00 per month to ESD and that she would no longer

have to pay an electric bill to her utility provider Florida Power & Light Company.

      17.      ESD omitted the fact that the actual cost of the solar panels would be in the sum of

$75,040.00.

      18.      ESD and Defendant omitted and concealed the fact that ESD and Defendant would

and did enter Plaintiff into a third-party consumer loan with Defendant, without Plaintiff’s

knowledge or consent, without any written loan agreement, in the principal amount of $75,040.00,

with interested accruing (the “Loan”).

      19.      As a result of the fraudulent representations and omission of material facts by ESD

and Defendant, on or about January 10, 2020, Plaintiff allegedly entered into an agreement with

ESD for the installation of solar panels at the Property.

      20.      Without Plaintiff’s authorization or consent ESD and Defendant then fabricated the

Loan between Plaintiff Defendant, without any notice, retail installment agreement, loan

agreement, or writing of any kind between Plaintiff and Defendant.

      21.      Plaintiff did not authorize, execute, or apply to receive the Loan from Defendant.



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      22.       According the Public Records of Brevard County, Florida on or about April 14,

2020, Defendant filed a State of Florida Uniform Commercial Code Financing Statement Form

fixture filing listing Plaintiff as a debtor and listing the Property (the “UCC Filing”).

      23.       Plaintiff did not become aware of the Loan until receiving a loan statement by mail

in or around November of 2020.

      24.       Prior to the origination of the Loan, Plaintiff never received any written disclosures

regarding the Loan of any kind, such as the annual percentage rate, the finance charges, the amount

financed, or otherwise.

      25.       Plaintiff did not consent to ESD using or obtaining her consumer report.

      26.       Plaintiff did not consent to Defendant using or obtaining her consumer report.

      27.       Plaintiff never provided Defendant with authorization to file the aforementioned

UCC Filing against the Property.

      28.       Plaintiff has disputed the validity of the Loan with Defendant, to no avail.

      29.       Counsel for Plaintiff contacted Defendant to advise of the unauthorized origination

of the Loan and requested a copy of any documents pertaining to the Loan. To date, Defendant has

not provided a copy of any documents pertaining to the Loan, which, based upon information and

belief, do not exist.

      30.       The unauthorized Loan caused a drastic negative impact on Plaintiff’s credit.

      31.       As a result of the negative impact on Plaintiff’s credit worthiness, Plaintiff had at

least one of her credit card accounts cancelled.

      32.       Defendant never had a permissible purpose to use or obtain Plaintiff’s consumer

report.




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      33.         Defendant obtained Plaintiff’s consumer report under false pretenses to the credit

bureaus because Plaintiff never provided authorization for a credit pull, nor did Plaintiff seek any

credit or extension of credit from Defendant.

      34.         Defendant knew or should have known that Plaintiff did not initiate any credit

transaction or authorize any inquiry into Plaintiffs’ credit information at any time.

      35.         As a result of Defendant’s fraudulent, willful, wanton, reckless, and/or negligent

actions, Plaintiff has been damaged.

      36.         The consumer reports used and/or obtained by Defendant included a trove of

sensitive personal and private information about Plaintiff, such as birthdates, credit history profile,

and the like.

      37.         Plaintiff’s privacy has been invaded as a result of the fraudulent, willful, wanton,

reckless and/or negligent conduct of Defendant.

      38.         Plaintiff has suffered mental and emotional distress, worry, and aggravation as a

result of Defendant’s actions.

      39.         As a result of Defendant’s falsely and fraudulently created loan and unauthorized,

fraudulent, and inaccurate credit reporting, Plaintiff suffered damages, including, but not limited

to:

                  i. Debt in her name that she does not owe;
                 ii. Defamation of credit;
                 iii. Reduced Credit availability;
                 iv. Lowered credit score due to no fault of her own;
                  v. Loss of time;
                 vi. Loss of money attempting to correct the inaccurate information;
                vii. Emotional distress;
                viii. Frustration:


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               ix. Anxiety;
                x. Humiliation; and
               xi. Mental anguish.
                                                 Count I:
                              (Violations of the Fair Credit Reporting Act)

      40.       Plaintiff re-alleges and incorporates paragraphs one (1) through thirty-nine (39) as

if fully set out herein.

      41.       Defendant has violated the FCRA by willfully and/or negligently using and

obtaining Plaintiff’s consumer credit reports without a statutorily permissible purpose and upon

false pretenses. 15 U.S.C. §§ 1681b(f), 1681n, 1681o, 1681q.

      42.       Defendant violated §1681b(f) of the FCRA as to Plaintiff by obtaining her

consumer report for an application of credit when Plaintiff did not apply for credit or otherwise

authorize Defendant to access her consumer credit report.

      43.       As a result of Defendant’s violations of 15 U.S.C. §1681b, Plaintiff suffered actual

damages, including but not limited to: reduced credit score, mental anguish and emotional distress

from the invasion of her privacy the possibility of future unauthorized inquiries into her personal

financial information.

      44.       The conduct and actions of Defendant were willful, deliberate, intentional, and/or

with reckless disregard for the interests and rights of Plaintiff such as to justify an award of punitive

damages against Defendant in an amount to be determined by the Court.

      45.       The statutory and tortious violations by Defendant constitute negligent or willful

noncompliance—or both—with the FCRA, and entitle Plaintiff to actual damages, statutory damages,

punitive damages, as well as attorneys’ fees and costs in an amount to be determined by the Court

pursuant to 15 U.S.C. §1681n and §1681o.



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                                               Count II:
                               (Violations of the Truth in Lending Act)

      46.       Plaintiff re-alleges and incorporates paragraphs one (1) through thirty-nine (39) as

if fully set out herein.

      47.       The Truth in Lending Act mandates that lenders disclose certain “costs of credit”

associated with the transaction. Accurate disclosure of the “amount financed,” the “finance

charge,” and the “Annual Percentage Rate” (APR) is necessary in order for consumers to be able

to make meaningful comparisons of credit alternatives and are mandatory disclosures. 15 U.S.C.

§1638.

      48.       Terms such as “amount financed,” “finance charge,” and “annual percentage rate”

must be used, as well as a “descriptive explanation” of each of these terms. 15 U.S.C. § 1638(a).

      49.       The TILA mandates that these disclosures be written in a manner that is accurate,

clear and conspicuous. See 15 U.S.C. §§ 1632(a), 1638(a)(2)–(5); Reg. Z, §1026.17(a).

      50.       Defendant did not provide Plaintiff with any mandatory disclosures.

      51.       In conjunction with the disclosure of the amount financed, a creditor shall provide

a statement of the consumer’s right to obtain, upon a written request, a written itemization of the

amount financed. 15 U.S.C. § 1638(b).

      52.       Defendant did not provide Plaintiff with a statement of consumer rights in

accordance with 15 U.S.C. § 1638(b).

      53.       By failing to provide the required disclosures prior to consummation of the

transaction Defendant violated 15 U.S.C. § 1638(b) and Regulation Z § 1026.17(b).

      54.       Defendant did not comply with the requirements of the TILA.




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      55.       By reason of the aforesaid violation of the TILA and Regulation Z, Defendant is

liable to Plaintiff for actual damages to be established at trial, and attorney’s fees and costs in

accordance with 15 U.S.C. § 1640.

                                               Count III:
                                                (Fraud)

      56.       Plaintiff re-alleges and incorporates paragraphs one (1) through thirty-nine (39),

forty-one (41) through forty-five (45) and forty-seven (47) through fifty-four) (54), as if fully set

out herein.

      57.       Defendant affirmatively concealed and knew that Plaintiff did not know that

Defendant intended to and did, without any written agreement or required consumer disclosures

of any kind, intentionally and fraudulently created a loan in Plaintiff’s name, obtained Plaintiff’s

credit report, and reported unauthorized debt on behalf of Plaintiff to credit reporting agencies.

      58.       As a direct and foreseeable result of Defendant’s intentional conduct, Plaintiff

suffered damages.

                                        PRAYER FOR RELIEF

      WHEREFORE, as a direct and proximate result of Defendant’s conduct, Plaintiff

respectfully request an entry of:

      a. Judgment against Defendant declaring that Defendant violated the TILA;
      b. Judgment enjoining Defendant from engaging in further conduct in violation of the
            TILA;
      c. Judgment against Defendant declaring that Defendant violated the FCRA;
      d. Judgment against Defendant for maximum statutory damages for violations of the
            FCRA;
      e. Judgment enjoining Defendant from engaging in further conduct in violation of the
            FCRA;
      f. Actual damages in an amount to be determined at trial;

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      g. Statutory damages;
      h. Compensatory damages in an amount to be determined at trial;
      i. Punitive damages in an amount to be determined at trial;
      j. An award of attorney’s fees and costs; and
      k. Any other such relief the Court may deem proper.
                                     DEMAND FOR JURY TRIAL

Plaintiff hereby demand a jury trial by jury on all issues triable by right.

                SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

      Plaintiff hereby give notice to Defendant and demand that Defendant and their affiliates

safeguard all relevant evidence-paper, electronic documents, or data-pertaining to this litigation

as required by law.

                                                               Respectfully submitted,

                                                               s/Ethan B. Babb, Esq.
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